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Case 2:16-cv-01160-KJM-AC Document1 Filed 05/27/16 Page 1 of 37

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Attorneys for Defendants

TNG GP, a Delaware General Partnership; THE
NEWS GROUP, INC., a Delaware Corporation;
SELECT MEDIA SERVICES, L.L.C., a Delaware
Limited Liability Company

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA
JEANNETTE COOKS, an individual; and Case No.

ALWENA FRAZIER, an individual; for
themselves and on behalf of all others similarly DEFENDANTS’ NOTICE OF

situated, REMOVAL
Plaintiffs, (Solano County Superior Court, Case No.
FCS046906)
V.
Action Filed: April 14, 2016

TNG GP, a Delaware General Partnership;
THE NEWS GROUP, INC., a Delaware
Corporation; SELECT MEDIA SERVICES,
L.L.C., a Delaware Limited Liability Company,
and DOES 1 through 10, inclusive,

Defendants.

 

 

 

TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE EASTERN
DISTRICT OF CALIFORNIA, AND TO PLAINTIFFS AND THEIR ATTORNEYS OF
RECORD:

PLEASE TAKE NOTICE that Defendants TNG GP, a Delaware General Partnership
(“TNG”), THE NEWS GROUP, INC., a Delaware Corporation (“The News Group”), and
SELECT MEDIA SERVICES, L.L.C., a Delaware Limited Liability Company (“Select Media
Services”) (collectively, “Defendants”’) hereby remove the above captioned action from the
Superior Court of the State of California for the County of Solano, to the United States District

Court for the Eastern District of California, Sacramento Division, pursuant to the Class Action

 

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Case 2:16-cv-01160-KJM-AC Document1 Filed 05/27/16 Page 2 of 37

Fairness Act ““CAFA”) 28 U.S.C. §§ 1332(d), 1441 and 1446. Defendants’ Notice of Removal is
based on the following:
Background

I. On April 14, 2016, Plaintiffs Jeanette Cooks and Alwena Frazier (collectively,
Plaintiffs’) filed an unverified class action complaint in the Superior Court of California, County
of Solana, entitled Jeanette Cooks and Alwena Frazier, on behalf of themselves and on behalf of
all other similarly situated vs. TNG GP, a Delaware General Partnership; et al., Case No.
FCS046906 (“State Court Action’). Plaintiffs’ Complaint asserts the following causes of action:
(1) Failure to Pay Hourly Wages; (2) Failure to Pay Overtime Wages; (3) Failure to Reimburse
for Business Expenses; (4) Failure to Provide Accurate Itemized Wage Statements; (5) Failure to
Timely Pay All Wages Due at Separation of Employment; and (6) Violation of California
Business and Professions Code sections 17200, ef seq. In the Complaint, Plaintiffs pray for the
following relief: unpaid hourly wages, unpaid overtime wages, reimbursement of business
expenses, waiting time penalties under California Labor Code sections 201-203, liquidated
damages under California Labor Code 1194.2, penalties, restitution, and liquidated damages
under California Labor Code section 1197.1, penalties pursuant to California Labor Code section
558, “state statutory penalties,” interest, and attorneys’ fees and costs, including expert fees and
fees under California Labor Code sections 218.5, 22, 1021.5, 1194, and 2802.

Timeliness of Removal

2. Defendants The News Group and Select Media Services were served with the
Complaint, Summons, Civil Case Cover Sheet, and related documents on April 27, 2016. Copies
of these documents are attached as Exhibit “A.” Defendant TNG has not yet been served. All
three defendants filed an Answer to the Complaint in Solano County Superior Court on May 26,
2016.

3. This Notice of Removal is timely filed as it is filed less than one year from the date
this action was commenced and within 30 days of purported service upon Defendants. 28 U.S.C.
§ 1446(b); Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344 (1999) (30 day

deadline to remove commences upon service of the summons and complaint).

 

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Case 2:16-cv-01160-KJM-AC Document1 Filed 05/27/16 Page 3 of 37

Removal Jurisdiction Pursuant to the Class Action Fairness Act

4, This Court has original jurisdiction under 28 U.S.C. § 1332(d) and 1453
(“CAFA”), and all other applicable bases for removal.

5. This action has not previously been removed to federal court.

6. Under CAFA, this Court has jurisdiction over class actions in which any member
of the class is a citizen of a state different from any defendant, in which the aggregate amount in
controversy exceeds the sum of $5,000,000, exclusive of interest and costs, and in which the
number of members of all proposed plaintiff classes in the aggregate is at least 100 class
members. 28 U.S.C. § 1332(d)(2) — (6). CAFA authorizes removal of such actions under 28
U.S.C. § 1446.

Diversity

7. Plaintiffs’ Citizenship. For diversity purposes, a person is a “citizen” of the state
in which she is domiciled. Kantor v. Wellesley Galleries, Ltd., 704 F.2d 1088, 1090 (9th Cir.
1983). A party’s residence is prima facie evidence of his or her domicile. State Farm Mutual
Auto Ins. Co. v. Dyer, 19 F.3d 514, 520 (10th Cir. 1994). Based on the allegations in the
Complaint, Defendants allege that Plaintiffs are and were at all relevant times citizens and
residents of the State of California. Exhibit A (Complaint), 9 4-5.

8. Defendants’ Citizenship.

a. ING

Defendant TNG is a Delaware general partnership with its principal place of business in
Atlanta, Georgia. In determining the citizenship of a partnership, the Court looks to the
citizenship of the individual partners. See Schnabel v. Lui, 302 F.3d 1023, 1030, n. 3 (9th Cir.
2002) (“a partnership is a citizen of every state of which its partners are citizens”). Defendant
TNG’s partners are Great Pacific News Company, Inc., a Delaware corporation (“Great Pacific”),
Select Media Services, Alaska News, Inc., an Alaska corporation (“Alaska News”), Prologix
Distribution Services (East), a Delaware limited liability company (‘Prologix East’’), Prologix
Distribution Services (West), a Delaware limited liability company (“Prologix West”), and Great

Atlantic News, a Delaware limited liability company (“Great Atlantic’).

 

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Case 2:16-cv-01160-KJM-AC Document1 Filed 05/27/16 Page 4 of 37

Pursuant to 28 U.S.C. § 1332(c), “a corporation shall be deemed to be a citizen of any
State by which it has been incorporated and of the State where it has its principal place of
business...” Great Pacific is now, and ever since this action commenced has been, incorporated
under the laws of the State of Delaware, with its principal place of business in Seattle,
Washington. As such, Great Pacific is a citizen of Delaware and Washington.

Select Media Services is a Delaware limited liability company with its principal place of
business in Atlanta, Georgia. The citizenship of a limited liability company for diversity
purposes is determined by examining the citizenship of each member of the company. Johnson v.
Columbia Properties Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006). Select Media Services’
sole member is TNG Holdings, Inc. ““TNG Holdings”). TNG Holdings is a New York
corporation with its principal place of business in Atlanta, Georgia. As such, Select Media
Services is a citizen of New York and Georgia.

Alaska News is now, and ever since this action commenced has been, incorporated under
the laws of the State of Alaska, with its principal place of business in Anchorage, Alaska. As
such Alaska News is a citizen of Alaska.

Prologix East is a Delaware limited liability company with its principal place of business
in Atlanta, Georgia. Prologix East’s sole member is TNG Holdings, which is a citizen of New
York and Georgia. As such, Prologix East is a citizen of New York and Georgia.

Prologix West is a Delaware limited liability company with its principal place of business
in Seattle, Washington. Its sole member is TNG Holdings, which is a citizen of New York and
Georgia. As such, Prologix West is a citizen of New York and Georgia.

Great Atlantic is a Delaware limited liability company with its principal place of business
in Atlanta, Georgia. Great Atlantic’s sole member is TNG Holdings, which is citizen of New
York and Georgia. As such, Great Atlantic is a citizen of New York and Georgia.

For these reasons, TNG is a citizen of the States of Delaware, Washington, New York,
Alaska, and Georgia.

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Case 2:16-cv-01160-KJM-AC Document1 Filed 05/27/16 Page 5 of 37

b. The News Group

Defendant The News Group is a Delaware corporation. The News Group is now, and
ever since this action commenced has been, incorporated under the laws of the State of Delaware,
with its principal place of business in Atlanta, Georgia. As such, The News Group is a citizen of
Delaware and Georgia.

c. Select Media Services

Defendant Select Media Services is a citizen of New York and Georgia as stated above.

9. Doe Defendants. Pursuant to 28 U.S.C. § 1441(a), the residence of fictitious and
unknown defendants should be disregarded for purposes of establishing removal jurisdiction
under 28 U.S.C. § 1332. Fristos v. Reynolds Metals Co., 615 F.2d 1209, 1213 (9th Cir. 1980)
(unnamed defendants are not required to join in a removal petition). Thus, the existence of DOE
defendants in this case does not deprive this court of jurisdiction.

10. Accordingly, pursuant to 28 U.S.C. § 1332(c), Plaintiffs and Defendants have
diverse citizenship.

Amount in Controversy

11. CAFA requires that the amount in controversy exceed $5,000,000, exclusive of
interest and costs. 28 U.S.C. § 1332(d)(2). Under CAFA, the claims of the individual members
in a class action are aggregated to determine if the amount in controversy exceeds the sum or
value of $5,000,000. 28 U.S.C. § 1332(d)(6). In addition, Congress intended for federal
jurisdiction to be appropriate under CAFA “‘if the value of the matter in litigation exceeds
$5,000,000 either from the viewpoint of the plaintiff or the viewpoint of the defendant, and
regardless of the type of relief sought (e.g., damages, injunctive relief, or declaratory relief).”
Senate Judiciary Committee Report, S. Rep. No. 109-14, at 42 (2005), reprinted in 2005
ULS.C.C.A.N. 3, 40. The Senate Judiciary Committee’s Report on the final version of CAPA also
makes clear that any doubts regarding the maintenance of interstate class actions in state or
federal court should be resolved in favor of federal jurisdiction. Jd at 42-3 (“if a federal court is
uncertain about whether ‘all matters in controversy’ in a purported class action ‘do not in the

ageregate exceed the sum or value of $5,000,000,’ the court should err in favor of exercising

 

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Case 2:16-cv-01160-KJM-AC Document1 Filed 05/27/16 Page 6 of 37

jurisdiction over the case... Overall, new section 1332(d) is intended to expand substantially
federal court jurisdiction over class actions. Its provisions should be read broadly, with a strong
preference that interstate class actions should be heard in a federal court if properly removed by
any defendant.”).

12. In this case, Plaintiffs did not allege the amount in controversy. An action may be
removed if the defendant establishes, by a preponderance of the evidence, that the amount in

controversy exceeds the jurisdictional amount. Guglielmino v. McKee Foods Corp., 506 F.3d

696, 699 (9th Cir. 2007). To establish by a preponderance of the evidence that the amount in

controversy exceeds the jurisdictional amount, the defendant must establish that it is “more likely
than not” that the amount in controversy exceeds that amount. Sanchez v. Monumental Life Ins.
Co., 102 F.3d 398, 404 (9th Cir. 1996).

13. The burden of establishing the jurisdictional threshold “is not daunting, as courts
recognize that under this standard, a removing defendant is not obligated to research, state, and
prove the plaintiffs claims for damages.” Korn v. Polo Ralph Lauren Corp., 536 F.Supp.2d
1199, 1204-05 (E.D. Cal. 2008); see also Valdez v. Allstate Ins. Co., 372 F.3d 1115, 1117 (9th
Cir. 2004) (“the parties need not predict the trier of fact’s eventual award with one hundred
percent accuracy”).

14. It is well-settled that “the court must accept as true plaintiff's allegations as plead
in the Complaint and assume that plaintiff will prove liability and recover the damages alleged.”
Muniz v. Pilot Travel Ctrs., LLC, No. CIV S-07-0325 FCD EFB, 2007 WL 1302504, at * 3 (E.D.
Cal. May 1, 2007) (denying motion for remand of a class action for claims under the California
Labor Code for missed meal and rest periods, unpaid wages and overtime, inaccurate wage
statements, and waiting-time penalties).

15. As explained by the Ninth Circuit, “the amount-in-controversy inquiry in the
removal context is not confined to the face of the complaint.” Valdez v. Allstate Ins. Co., 372
F.3d 1115, 1117 (9th Cir. 2004); see also Rodriguez v. AT&T Mobility Servs., LLC, 728 F.3d 975,
981 (9th Cir. 2013) (holding that the ordinary preponderance of the evidence standard applies

even if a complaint is artfully pled to avoid federal jurisdiction); Guglielmino v. McKee Foods

 

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Case 2:16-cv-01160-KJM-AC Document1 Filed 05/27/16 Page 7 of 37

Corp., 506 F.3d 696, 702 (9th Cir. 2007) (holding that even if a plaintiff affirmatively pled
damages less than the jurisdictional minimum and did not allege a sufficiently specific total
amount in controversy, the removing defendant is still only required to show by a preponderance
of evidence that the amount in controversy exceeds the jurisdictional threshold).

16.  Ifaplaintiff asserts statutory violations, the court must assume that the violation

rate is 100% unless the plaintiff specifically alleges otherwise:

As these allegations reveal, plaintiff includes no fact-specific
allegations that would result in a putative class or violation rate that
is discernibly smaller than 100%, used by defendant in its
calculations. Plaintiffis the “master of [her] claim[s],” and if she
wanted to avoid removal, she could have alleged facts specific to
her claims which would narrow the scope of the putative class or
the damages sought. She did not.

Muniz, 2007 WL 1032504, at * 4 (citing Caterpillar, Inc. v. Williams, 482 U.S. 386, 392 (1987));
see also Arreola v, The Finish Line, No. 14-CV-03339, LHK, 2014 WL 6982571, at * 4 (N.D.
Cal. Dec. 9, 2014) (“District Courts in the Ninth Circuit have permitted a defendant removing an
action under CAFA to make assumptions when calculating the amount in controversy - such as
assuming a 100 percent violation rate, or assuming that each member of the class will have
experienced some type of violation - when those assumptions are reasonable in light of the
allegations in the complaint.”); Coleman v. Estes Express Lines, Inc., 730 F.Supp.2d 1141, 1149
(C.D, Cal. 2010) “‘[C]ourts have assumed a 100% violation rate in calculating the amount in
controversy when the complaint does not allege a more precise calculation.”’).

17, In determining the amount in controversy the Court must consider the aggregate of
general damages, special damages, punitive damages, and attorneys’ fees. Galt G/S v. JSS
Scandinavia, 142 F.3d 1150, 1156 (9th Cir. 1998) (claims for statutory attorneys’ fees to be
included in amount in controversy, regardless of whether such an award is discretionary or
mandatory); Davenport v. Mutual Ben. Health & Acc. Ass’n, 325 F.2d 785, 787 (9th Cir, 1963)
(punitive damages must be taken into account where recoverable under state law); Conrad
Associates v. Hartford Acc. & Ind. Co., 994 F.Supp. 1196, 1198 (N.D. Cal. 1998) (“amount in
controversy” includes claims for general and special damages).

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Case 2:16-cv-01160-KJM-AC Document1 Filed 05/27/16 Page 8 of 37

18. Plaintiffs purport to bring this action pursuant to California Code of Civil
Procedure section 382 as a class action, and seek class certification on behalf of a class that
includes Plaintiffs and all other present and former employees who have worked for Defendants
as merchandisers in California from any time from four years prior to the filing of the Complaint
through such time as the action is pending. Exhibit A (Complaint), J 17.

19. Based on this class definition, the putative class consists of 1,877 former
employees and 945 current employees, for a total class size of 2,822 individuals. The average
hourly rate of pay for these individuals is approximately $10.28 per hour during the proposed
class period. During the proposed class period, approximately 74,775 paychecks were issued to
the total class.

20. As set forth below, the alleged amount in controversy implicated by the class-wide
allegations exceeds $5,000,000. All calculations supporting the amount in controversy are based
on the Complaint’s allegations, assuming, without any admission, the truth of the facts alleged
and assuming liability is established.

21. Plaintiffs’ First Cause of Action alleges that Defendants willfully failed to pay
Plaintiffs and members of the class their regular wages and/or other compensation. Plaintiffs seek
to recover these amounts, plus interest, attorneys’ fees and costs on behalf of themselves and
members of the class. Exhibit A (Complaint), § 28.

22. The statute of limitations for unpaid wage claims pursuant to Labor Code section
204 is three years. See Cal. Code Civ. Proc. 338(a). Plaintiffs’ sixth cause of action, however,
alleges that Defendants’ failure to pay wages is an unfair business practice for which Plaintiffs
seek restitution. Exhibit A (Complaint), {§ 47-48. The relevant period for their restitution claim
for unpaid wages is the four-year statute of limitations for unfair business practice claims. Cal.
Bus. & Prof. Code § 17208. Thus, for determining the amount in controversy, the four-year
statute of limitations applies.

23. Plaintiffs are silent as to the amount of alleged unpaid wages they claim to have
been denied, thereby precluding precise estimates of the amount in controversy. See Muniz, 2007

WL 1302504, at * 4. Plaintiffs, however, do allege that Defendants had a global and uniform

 

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Case 2:16-cv-01160-KJM-AC Document1 Filed 05/27/16 Page 9 of 37

policy of requiring merchandisers to clock out when driving between locations and not paying
them for this time. Exhibit A (Complaint), 7 15. Although Defendants deny that Plaintiffs (or
any putative class members) are entitled to any unpaid wages, conservatively assuming 1 hour of
alleged unpaid wages per 2-week pay period for each putative class member, the amount in
controversy would be approximately $768,687.00 (74,775 total checks issued during the class
period x ($10.28 per hour) x 1 hour unpaid wages per check). This estimated amount is
reasonable and conservative. See Jasso v. Money Mart Express, Inc., No. 11-CV-5500 YGR,
2012 WL 699465, at * 5 (N.D. Cal. March 1, 2012) (“Where, as here, the allegations are that
class members were not compensated for overtime and were denied meal and rest breaks at “all
material times” based on a “uniform policy and systematic scheme” to deprive them of these
rights, it is reasonable to assume one violation per week.”) (emphasis added); Molina v. Pacer
Cartage, Inc., 47 F.Supp.3d 1061, 1066 (S.D. Cal. 2014) (finding that an assumption of three
hours of overtime per week is a conservative estimate); Ray v. Wells Fargo Bank, N.A., No. CV
11-01477 AHM (JCx), 2011 WL 1790123, *7 (C.D. Cal. May 9, 2011) (holding that allegation of
“consistent” overtime work justified defendant’s assumption that each class member was entitled
to one hour of overtime per week); Giannini v. Northwestern Mutual Life Insurance Co., No. C
12-77 CW, 2012 WL 1535196, * 3 (N.D. Cal. April 30, 2012) (finding one hour of overtime per
workweek to be a reasonable assumption); Patel v. Nike Retail Services, Inc., 58 F.Supp.3d 1032,
1042 (N.D. Cal. 2014) (same); Wilson v. Best Buy Co., No. 2:10-cv-31360GEB-KJN, 2011 WL
445848, * 2 (E.D. Cal. Feb. 8, 2011) (same).

24, Plaintiffs’ Second Cause of Action alleges that Defendants willfully violated
California Labor Code sections 510 and 1194, and IWC Wage Order 7-2001 by “failing to
compensate merchandisers for all time communicating with Defendants by email and phone to
receive and respond to assignments, completing surveys, and driving between assignments at the
overtime rate of pay for shifts that exceed eight (8) hours in a day and/or forty (40) in a week and
the double-time rate of pay for shifts that exceed twelve (12) hours ina day...” Exhibit A
(Complaint), § 31. Plaintiffs seek to recover these amounts, plus interest, attorneys’ fees and

costs on behalf of themselves and members of the class. /d.

 

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Case 2:16-cv-01160-KJM-AC Document 1 Filed 05/27/16 Page 10 of 37

25. The statute of limitations for overtime claims pursuant to Labor Code section 1194
is three years. See Cal. Code Civ. Proc. 338(a). Plaintiffs’ sixth cause of action, however, alleges
that Defendants’ failure to pay overtime wages is an unfair business practice for which Plaintiffs
seek restitution. Exhibit A (Complaint), §] 47-48. The relevant period for their restitution claim
for unpaid overtime is the four-year statute of limitations for unfair business practice claims. Cal.
Bus. & Prof. Code § 17208. Thus, for determining the amount in controversy, the four-year
statute of limitations applies.

26. Plaintiffs are silent as to the amount of alleged overtime they claim to have
worked, thereby precluding precise estimates of the amount in controversy. See Muniz, 2007 WL
1302504, at * 4. Plaintiffs, however, do allege that Defendants had a global and uniform policy
of requiring merchandisers to clock out when driving between locations and not paying them for
this time. Exhibit A (Complaint), 415. Although Defendants deny that Plaintiffs (or any putative
class members) are entitled to any overtime payments, conservatively assuming 1 hour of alleged
unpaid overtime per 2-week pay period for each putative class member, the amount in
controversy would be approximately $1,153,030.50 (74,775 total checks issued during the class
period x ($10.28 per hour x 1.5) x 1 hour OT per check). This estimated amount is reasonable
and conservative. See Jasso v. Money Mart Express, Inc., No. 11-CV-5500 YGR, 2012 WL
699465, at * 5 (N.D. Cal. March 1, 2012) (““Where, as here, the allegations are that class members
were not compensated for overtime and were denied meal and rest breaks at “all material times”
based on a “uniform policy and systematic scheme” to deprive them of these rights, it is
reasonable to assume one violation per week.”); Molina v. Pacer Cartage, Inc., 47 F.Supp.3d
1061, 1066 (S.D. Cal. 2014) (finding that an assumption of three hours of overtime per week is a
conservative estimate); Ray v. Wells Fargo Bank, N.A., No. CV 11-01477 AHM (JCx), 2011 WL
1790123, *7 (C.D. Cal. May 9, 2011) (holding that allegation of “consistent” overtime work
justified defendant’s assumption that each class member was entitled to one hour of overtime per
week); Giannini v. Northwestern Mutual Life Insurance Co., No. C 12-77 CW, 2012 WL
1535196, * 3 (N.D. Cal. April 30, 2012) (finding one hour of overtime per workweek to be a
reasonable assumption); Patel v. Nike Retail Services, Inc., 58 F.Supp.3d 1032, 1042 (N.D. Cal.

 

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Case 2:16-cv-01160-KJM-AC Document 1 Filed 05/27/16 Page 11 of 37

2014) (same); Wilson v. Best Buy Co., No. 2:10-cv-31360GEB-KJN, 2011 WL 445848, * 2 (E.D.
Cal. Feb. 8, 2011) (same).

27. Plaintiffs’ Third Cause of Action alleges that Defendants failed to reimburse
Plaintiffs and members of the class for business expenses. Plaintiffs seek to recover
unreimbursed expenses, plus interest, attorneys’ fees and costs on behalf of themselves and
members of the class. Exhibit A (Complaint), § 35.

28. Plaintiffs’ Fourth Cause of Action alleges that Defendants failed to provide wage
statements to Plaintiffs and members of the class that accurately set forth all hours worked and all
wages earned during each pay period. For this cause of action, Plaintiffs seek to recover on
behalf of themselves and members of the class “the amount provided under Labor Code section
226(e), including the greater of all actual damages or fifty dollars ($50) for the initial pay period
in which a violation occurs and one hundred dollars ($100) per employee for each violation in a
subsequent pay period, to a maximum of $4,000 per employee.” Exhibit A (Complaint), 4 39.

29. California Labor Code section 226(e) provides a minimum penalty of $50 for the
initial violation as to each employee, and $100 for each further violation as to each employee, up
to a maximum penalty of $4,000 per employee. The statute of limitations for recovery of

penalties under Section 226(e) is one year. Cal. Civ. Proc. Code § 340(a).

30. | Members of the putative class are paid every two weeks. Accordingly, there are
26 pay periods per year.
31. During the statute of limitations period for the wage statement claim, there were

1,650 potential class members employed by Defendants who, according to Plaintiffs, failed to
receive accurate wage statements. Thus, the amount in controversy for this claim is
$2,720,600.00 ((1,650 employees x $50 penalty for initial violation’) + (26,381° x $100 penalty
for subsequent pay periods’)). See Mejia, 2015 WL 2452755, at * 5 (“It is not unreasonable to

 

' This equals the amount of $82,500.00.

* This equals the number of subsequent pay periods worked from April 14, 2015 through
April 19, 2016.

> This equals the amount of $2,638,100.00.

 

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Case 2:16-cv-01160-KJM-AC Document 1 Filed 05/27/16 Page 12 of 37

assume that, with this many violations alleged, every one of the wage statements issued during
the class period could potentially have been noncompliant.”).

32. Plaintiffs’ Fifth Cause of Action alleges that Defendants willfully failed to pay
Plaintiffs and members of the class at the termination of their employment all of their earned
wages owed for work performed. For this cause of action, Plaintiffs seek on behalf of members
of the class who have left Defendants’ employ, “up to thirty day’s wages as a penalty under labor
Code section 203, in the amounts to be determined at trial, plus interest, and attorneys’ fees and
costs.” Exhibit A (Complaint), 7 45.

33. California Labor Code section 203(a) provides that, “if an employer willfully fails
to pay ... any wage of an employee who is discharged or who quits, the wages of the employee
shall continue as a penalty” from the date such wages were due until the date paid. However,
Labor Code section 203(a) provides that such wages “shall not continue for more than 30 days.”

34. The alleged limitations period for potential claims under Labor Code section 203
would be from April 14, 2013 (three years before the Complaint was filed) to the present. See
Pineda vy. Bank of America, N.A., 50 Cal.4th 1389, 1401 (2010). From April 14, 2013 to the
present, there are approximately 1,660 former hourly-paid or non-exempt employees who worked
in California.

35. Based on the allegations in the Complaint that Defendants willfully failed to pay
the wages of their former employees, it can be assumed that all members of the subclass have a
claim for waiting time penalties. See Mejia v. DHL Express (USA), Inc., No. CV 15-890-GHK
(JCx), 2015 WL 2452755, at * 6 (C.D. Cal. May 21, 2015) (finding that it is not unreasonable to
assume a 100% violation rate at the maximum penalty of 30 days at 8 hours because it is
reasonable to assume a 100% violation rate); Deaver v. BBVA Compass Consulting & Benefits,
Inc., No. 13-CV-00222-JSC, 2014 WL 2199645, at * 8 (N.D. Cal. May 27, 2014) (finding that
“Tslince Plaintiff alleges that each and every class member worked off the clock, all members of
the subclass have a claim for waiting time penalties for the full 30 days.)

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Case 2:16-cv-01160-KJM-AC Document 1 Filed 05/27/16 Page 13 of 37

36. Assuming that that 1,660 former employees are owed for the maximum penalty of
30 days’ wages, and conservatively assuming a 4-hour versus an 8-hour work day, the alleged
amount in controversy for just the claim for waiting time penalties is $2,047 ,776.00° (1,660
former employees x 4 hours per day x 30 days x $10.28 per hour).

37. Plaintiffs’ Sixth Cause of Action alleges that Defendants’ “failure to pay hourly
and overtime wages, reimburse for all business expenses under Labor Code section 2802, and
timely pay all wages at termination constitutes unlawful activities, acts and practices prohibited
by Business and Professions Code sections 17200, et seg.” Exhibit A (Complaint), § 47.
Plaintiffs also allege that these acts “constitute false, unfair, fraudulent, and deceptive business
practices, within the meaning of Business and Professions Code sections 17200, et seg.” Id. For
this cause of action, Plaintiffs seek on behalf of themselves and members of the class, among
other things, restitution for all wages and payments unlawfully withheld during the four year
period prior to the filing of the Complaint. Jd. at § 48.

38. In addition to the above-stated causes of action, Plaintiffs are also seeking
penalties under California Labor Code section 1197, et seg. and section 558. Exhibit A
(Complaint), § 22(h), Prayer at J] 1, J. They also seek liquidated damages under California Labor
Code section 1194.2. Exhibit A (Complaint), Prayer at § H.

39. California Labor Code section 1197.1 governs wage and hour violations and
provides a minimum penalty of $100 for the initial violation as to each employee, and $250 for
each further violation as to each employee. The statute of limitations for recovery of penalties
under Labor Code section 1197.1 is one year. Cal. Civ. Proc. Code § 340(a). During the statute
of limitations period, there were 1,650 potential class members employed by Defendants. Thus,
the amount in controversy for this claim is $6,760,250.00 ((1,650 employees x $100 penalty for
initial violation’) + (26,381° x $250 penalty for subsequent pay periods’)).

 

; Assuming an 8-hour work day increases this amount to $4,095,552.00.

; This equals an amount of $165,000.00.

° This equals the number of subsequent pay periods worked from April 14, 2015 through
April 19, 2016.

This equals an amount of $6,595,250.

 

NOTICE OF REMOVAL -13-

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Case 2:16-cv-01160-KJM-AC Document 1 Filed 05/27/16 Page 14 of 37

40. California Labor Code section 1194.2 provides for the recovery of liquidated
damages for any violation of Labor Code sections 98, 1193.6, 1194, or 1197.1 in “an amount
equal to the wages unlawfully unpaid and interest thereon.”

41. California Labor Code section 558 provides for penalties for any violation “of this
chapter or any provision regulating hours and days of work in any order of the Industrial Welfare
Commission...” Specifically, it provides a minimum penalty of $50 for the initial violation as to
each employee, and $100 for each further violation as to each employee. The statute of
limitations for recovery of penalties under Section 558 is one year. See Yadira v. Fernandez, No.
C-08-0571 RMW, 2011 WL 2434043, at * 5 (N.D. Cal. June 14, 2011). In addition, Section
558(c) provides that “[t]he civil penalties provided for in this section are in addition to any other
civil or criminal penalty provided by law.” During the statute of limitations period applicable to
the recovery of penalties under Section 558, there were 1,650 potential class members employed
by Defendants. Thus, the amount in controversy for this claim is $2,720,600.00 ((1,650
employees x $50 penalty for initial violation®) + (26,381° x $100 penalty for subsequent pay
periods!°)), See Arreola y. The Finish Line, No. 14-CV-03339, LHK, 2014 WL 6982571, at * 4
(N.D. Cal. Dec. 9, 2014) (“District Courts in the Ninth Circuit have permitted a defendant
removing an action under CAFA to make assumptions when calculating the amount in
controversy - such as assuming a 100 percent violation rate, or assuming that each member of the
class will have experienced some type of violation - when those assumptions are reasonable in
light of the allegations in the complaint.”); Coleman y, Estes Express Lines, Inc., 730 F.Supp.2d
1141, 1149 (C.D. Cal. 2010) (““[C]ourts have assumed a 100% violation rate in calculating the
amount in controversy when the complaint does not allege a more precise calculation.”’).

42. Although Defendants deny Plaintiffs’ allegations or that they or the putative class

are entitled to any relief for the above-mentioned claims, based on the forgoing calculations, the

 

® This equals an amount of $82,500.00.

” This equals the number of subsequent pay periods worked from April 14, 2015 through
April 19, 2016.

'® This equals an amount of $2,638,100.00.

 

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Case 2:16-cv-01160-KJM-AC Document 1 Filed 05/27/16 Page 15 of 37

aggregate amount in controversy for the putative class for all asserted claims, exclusive of
attorneys’ fees, is approximately $16,170,943.50, calculated as follows:

e $768,687.00 - Hourly Wage Claim

e $1,153,030.50 - Overtime Wage Claim

e $2,720,600.00 - Wage Statement Claim

e $2,047,776.00 - Untimely Final Wages Claim

e $6,760,250.00 - Minimum Wage Penalties (Labor Code section 1197.1)

e $2,720,600.00 - Penalties Under Labor Code section 558

43. The figures above do not take into account Plaintiffs’ claims for unreimbursed
business expenses or attorneys’ fees.

44, The Complaint also seeks an award of attorneys’ fees for four of its six causes of
action. It is well established that in determining whether a complaint meets the amount in
controversy requirement, the court should consider attorneys’ fees. Bell v. Preferred Life, 320
U.S. 238, 64 S.Ct. 5, 88 L.Ed. 15 (1943); Goldberg v. CPC Int’l, Inc., 678 F.2d 1365, 1367 (9th
Cir. 1982) (attorneys’ fees may be taken into account to determine jurisdiction amounts.) Here,
the alleged damages and penalties amount to at least $17,839,517.50, not including the amount
sought for attorneys’ fees. In the class action context, courts have found that 25 percent of the
aggregate amount in controversy is a benchmark for attorneys’ fees award under the “percentage
of fund” calculation and courts may depart from this benchmark when warranted. See Campbell
v. Vitran Exp., Inc., 471 F.App’x 646, 649 (9th Cir. 2012) (attorneys’ fees appropriately included
in determining amount in controversy under CAFA); Powers v, Eichen, 229 F.3d 1249, 1256-57
(9th Cir. 2000); Wren v. RGIS Inventory Specialists, No. C-06-05778 JCS, 2011 WL 1230826,
*27 (N.D. Cal. Apr. 1, 2011) (noting the 25% benchmark); Cicero v. DirecTV, Inc., No. EDCV
07-1182, 2010 WL 2991486, *6 (C.D. Cal. July 27, 2010) (same); see also In re Quintas
Securities Litigation, 148 F.Supp.2d 967, 973 (N.D. Cal. 2001) (noting that in the class action
settlement context the benchmark for setting attorneys’ fees is 25 percent of the common fund).
Even under the conservative benchmark of 25 percent of the total recovery, attorneys’ fees alone

would be upward of $4,042,735.88 in this case.

 

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Case 2:16-cv-01160-KJM-AC Document1 Filed 05/27/16 Page 16 of 37

45. Accordingly, Plaintiffs’ claims and the claims of the class they seek to represent

establish that the amount in controversy exceeds $5,000,000.
Venue

46. Venue lies in this Court because, as required by 28 U.S.C. § 1441, Defendants
seek to remove this case to the United States District Court for the Eastern of California, which is
the District Court embracing the place where the state court action has been filed. Pursuant to
Eastern District of California Local Rule 120(d), assignment to this division is proper because “. .
. All civil actions and criminal actions and proceedings of every nature and kind cognizable in the
United States District Court for the Eastern District of California arising in... .Solano..
counties shall be commenced in the United States District Court sitting in Sacramento,
California. . .”

Service of Notice of Removal

47. Notice of this removal will promptly be served on Plaintiffs and the Clerk of the
Superior Court in and for the County of Solano.

48. In compliance with 28 U.S.C. § 1446(a), true and correct copies of all process,
pleadings, and orders served in this action, including the Summons and Complaint, at Exhibit A,
are attached hereto.

49. Nothing in this Notice of Removal is intended or should be construed as any type
of express or implied admission by Defendants of any fact, of the validity or merits of any of
Plaintiffs’ claims, causes of actions, and allegations, or of any liability for the same, all of which
is/are hereby expressly denied, or as any type of express or implied waiver or limitation of any of
Defendants’ rights, claims, remedies, and defenses in connection with this action, all of which are
hereby fully and expressly reserved. Further, Defendants expressly reserve their right to amend
or supplement this Notice of Removal and the evidence in support thereof to the fullest extent
permitted by applicable law.

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Case 2:16-cv-01160-KJM-AC Document1 Filed 05/27/16 Page 17 of 37

“WHEREFORE, Defendants pray that this civil action be removed from the Superior Court
of the State of California, County of Solano, to the United States District for the Eastern District

of California.
DATED: May 27, 2016
STOEL RIVES LLP

By:___/s/ Anthony J. DeCristoforo
ANTHONY J. DECRISTOFORO
BRYAN L. HAWKINS
Attorneys for Defendants
TNG GP, a Delaware General Partnership;
THE NEWS GROUP, INC., a Delaware
Corporation; SELECT MEDIA
SERVICES, L.L.C., a Delaware Limited
Liability Company

 

NOTICE OF REMOVAL -17-

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Case 2:16-cv-01160-KJM-AC Document1 Filed 05/27/16 Page 18 of 37

EXHIBIT A
Case 2:16-cv-01160-KJM-AC Document1 Filed 05/27/16 Page 19 of 37

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d (CITAGION JUDICIAL) (SOLD FARA USO DELA CORTE
m NOTICE TO DEFENDANT:
“ZAVISO AL DEMANDADO):

c""ING GP, a Delaware General Partnership; THE NEWS GROUP, INC.,

'"""g) Delaware Corporation; SELECT MEDIA SERVICES, &-U.C., a Delaware
Limited Liability Company, and, DOES 1 through 10, inclusive
YOU ARE BEING SUED BY PLAINTIFF:

‘sseus_O ESTA DEMANDANDO EL DEMANDANTE): ASSIGNED TO

JEANNETTE COOKS, an individual; and ALWENA FRAZIER, an JUDGE
individual; for themselves and on behalf of all others similarly situated FOR ALL PURPOSES

 

 

NOncel You hava been sued, The court may decide against you without your being heard unless you respond within 30 days, Read the Infomation
elow,

You have 30 CALENDAR DAYS after this summons and lagal papers are served on you to file a written response at this court and have a copy
served on the plaintiff, A letter or phone call will not protect you. Your written response mus{ be In proper legal form If you want the court to hear your
case, Thera may be a court form that you can use for your response. You can find these court forms and more Information at the California Courts
Oniina Self-Help Center (www.courtinio.ce.gov/selfielp), your county law library, or the courthouse nearest you, If you cannot pay the fillng fee, ask
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may be taken without further wamlng from the court,

There are othar legal requirements. You may want to call an attomey right away, If you do not know an attomey, you may want fo cailan attomey -
referral service, IF you cannot afford an altomay, you may ba eligible for free legal services from a nonprofit jegal services program. You aan locate
these nonprofit groups at the Callfomla Legal Services Web site (www.Jawhelpsalifom/a.org), the Califomta Courts Onilne Self-Help Center
(www.courtiniv.ca.gov/selihelp), or by contacting your local court or county bar association, NOTE: The court has a statutory len for walved fees and
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(www.awhelpcallfornia.org), en ef Centro de Ayuda de las Cortes da California, (www.eucorte.ca.gov) o poniéndose en cantacio con fa corte o e/
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pagar ef gravamen de fa corte antes de que fa corfe pueda desechar el caso.

 

 

 

 

 

The name and addres ofthe court x Solano County § stor Court GABE = NUMBER:
(El nombre y direccién de fa corte es): Solano County Superior Cow ee

580 Texas Street ECS ADU
Fairfield, CA 94533

The name, address, and telephones number of plaintiffs atlomey, or plaintiff without an attomey, is:
(El nombre, la direccién y ef numero de teléfono del abogado def demandante, o del demandante que no fene abogado, @s):

Jeff Geraci, Esq., Cohelan Khoury & Singer, 605 C St., Ste. 200, San Diego, CA 92103; 619-595-3001
DATE: . APR 142016 ; Clerk, by G. ROBINS | Depuly

(Fecha) (Secratario) : (Adjunto)
(For proof of service of this summons, use Proot of Service of Summons (form POS-070).)

(Para prueba de entrega de esta citati6n use e/ formulario Proof of Service of Summons, (POS-070)),

NOTICE TO THE PERSON SERVED; You are served

(SEAL 4. (_] as an individual defendant.
2. [7] as ihe person sued under the fictitious name of (specify);

 

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under, CF] CCP 448.10 (corporation) [lJ] CCP 416.60 (minor)

[7] CCP 416.20 (defunct corporation) [—] CCP 418.70 (conservatee)
[_] CCP 416.40 (association or partnership) [~] CCP 416.90 (authorized person)

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4 (CITACION JUDICIAL) ls

i. , NOTICE TO DEFENDANT:

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con G GP, a Delaware General Partnership; THE NEWS GROUP, INC.,

- a) Delaware Corporation; SELECT MEDIA SERVICES, L.U.C., a Delaware
Limited Liability Company, and, DOES 1 threugh 10, inclusive
YOU ARE BEING SUED BY PLAINTIFF:

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JEANNETTE COOKS, an individual; and ALWENA FRAZIER, an = [JUDGE MICHAEL MATTIOE
individual; for themselves and on behalf of all others similarly situated FOR ALL PY

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cocel You have been sued. The court may decide against you without your being heard unless you respond within 30 days, Read the information
elow.

You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at thls court and have a copy
served on the plaintiff, A letter or phone cail will not protect you. Your written response must ba In proper tegal form Ifyou want the court to hear your
casa, There may be a court form that you can use for your response. You can find these court forme and more Information at the California Couris
Online Self-Help Center (www.courtinfo.ca.gov/selhalp), your county law library, or the courthouse nearest you. H you cannot pay the fillng fee, ask
the court clerk for a fee walver form. If you do not file your response on time, you may bese the case by default, and your wages, money, and property
may be taken without further wamlng from the court.

There are other legal requirements, You may want to call an attormey right away. IFyou do not know an attomey, you may want to callan attomey -
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these nonprofit groups at the Callfomla Legal Services Web site (www./awhelpcalifomia.org), the Callfornia Courts Online Self-Help Centar
(www. courtinid, ca. gov/selfhelp), or by contactIng your local court or county bar assoclation, NOTE: The court has a statutory isn for walved fees and
casts on any setfement or arbitration award of $10,000 or more In a civil case, Tha court’s flan must be pald before the court will dismiss the case.
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en formato legal correcta si desea que procesen su caso en la carte, Es posible que haya un formulario que usted pueda usar para su respuesta,
Puede encontrar estos formularios de fa corte y mas Informacién en el Centro de Ayuda de las Cortes do California (www,sucorte,ca.gov), en fa
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Programe de servicios fegales sin fines de lucro. Puede encontrar estos grupos sin fines de {ucro an al sitlo web de California Legal Services,

(wvew lawhelpeallfomnla.org), en ef Centro de Ayuda de las Cortes de California, (www.sucort®.ca.gov) o poniéndose en conlacto con la corte o al
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cualquier recuperacion de $10,000 6 mas de valor recibida mediante un acuerdo o une concesion de arbitraje en un caso de derecho cfvil. Tlene que
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tay name and adress of Le court i Sol County § stior Court Case NUMBER: ,

El nombre y direccion de fa corfe es); Solano County superior Cou

580 Texas Street ECSCHH ADV
Fairfield, CA 94533 , ‘

The name, address, and telephone number of plaintiffs attommey, or plaintiff without an attorney, Is:
(EI nombre, la direccién y el numero de teléfone det abogadc del demandants, o del demandante que no tlene abogado, es):
Jeff Geraci, Esq., Cohelan Khoury & Singer, 605 C St., Ste. 200, San Diego, CA 92101; 619-595-3001

DATE; ‘ 4 : Clerk, b . iS , Depuly
(rocks) APR 142016 (Socrabeto) G. ROBINS (agjur)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)

(Pare prueba de entrega de 9sta citation use ef formularlo Proof of Service of Summons, (POS-070)),

NOTICE TO THE PERSON SERVED: You are served

1. _] as an individual defendant.

2, [”_] as the person sued under the fictitlous name of (specify):

 

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Case 2:16-cv-01160-KJM-AC Document 1 Filed 05/27/16 Page 21 of 37

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ATTORNEY FOR Name: ’ Plaintiffs Jeannette Cooks and Alwena Frazier Clerk of the Superior Court

CE Esa (SBN NTS eto yane, State Gar number, and address}: FOR COURT USE ONLY

Go HELAN KHOURY & SINGER

605 C Street, Suit 200
Soe ENDORSED FILED

 

SUPERIOR COURT OF CALIFORNIA, COUNTY OF Solano

STREET ADDRESS: 580 Texas Street . APR 1 4 2516
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aranci name: Old Solano Courthouse . By. G. ENS

" CASE NAME: DEPUTY CLERK

_Cooks, et al. v. TNG GP, et al.

? CIVIL CASE COVER SHEET: Complex Case Designation CASE NUMER

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demanded demanded is Filed with first appearance by defendant HOG: E
exceads $25,000) $25,000 or less) (Cal. Rules of Court, rule 3.402) DEPT: {D

 

 

 

 

items 1-6 below must be completed (see instructions on page 2).

 

 

. Check one box below for the cass type that best describes this case:

Auto Tort Contract Provislonally Complex Civil Litigation

Auto (22) [] Breach of contracvwarranty (06) (Cal. Rules of Court, rules 3.400~-3.403)

Uninsured motorist (46) [_] Rule 3.740 collections (09) L] Antitrust/Trade regulation (03)

Other PUPDIWD (Personal Injury/Property [1 Othercoltections(09) + _[_] Construction defect (10)
DamageWrongful Death) Tort [_] insurance coverage (18) [-} Mass tort (40)

Asbestos (04) [] other contract (37) [] Securities litigation (28)
[xd Product liability (24) Real Property [] EnvironmentalToxie tort (30)

Medical malpractice (45) [_] Eminent domain/Inverse [_] insurance coverage clalms arising from the
[_} Other P/PD/WD (23) condemnation (14) above listed provisionally complex case
Non-PIPD/WD (Other) Tort [7] Wrongful eviction (33) types (41)

[—] Business torvunfair business practice (07) {__] Other reat property (26) Enforcement of Judgment

[~] Civil rights (08) Unlawful Detainer ] Enforcement of Judgment (20)

[7] Defamation (13) LJ] Commercial (31) Miscellaneous Civil Complaint

E Fraud (16) . C] Residential (32) {_] RICO (27)

[—] Intellectual property (19) [] Drugs (38) [--] other complaint (not specified above) (42)

[J Professional negligence (25) Judicial Review Miscellaneous Civil Petition

[7] other non-PYPDAVD tort (38) [_) Asset forfeiture (05) ["] Partnership and corporate govemance (21)

ae LJ Petition re: arbitration award (11) [_] other petition (not specified above) (43)
Wrongful termination (36) {_]} writ of mandate (02)

Other employment (15) [__] Other judicial review (39)

 

PARE

Date: April 13, 2016
Jeff Geraci, Esq.

 

. Thiscase Ly] ts L_] isnot complex under rule 3.400 of the Califomia Rules of Court. If the case is complex, mark the
factors requiring exceptional judicial management:

a. {_] Large number of separately represented parties d. Large number of witnesses

b, Extensive motion practice raising difficult ornovel —¢. [-_] Coordination with related actions pending in one or more courts
issues that will be time-consuming to resolve in other counties, states, or countries, or in a federal court

Cc. tv] Substantial amount of documentary evidence , [-] substantial postjudgment judicial supervision

Remedies sought (check ail that apply): a. tv] monetary .[¥_] nonmonetary; declaratory or Injunctive reilef —c. (__]punitive
Number of causes of action (specify): Six (6)

This case [y¥] is isnot aclass action sult.

if there are any known related cases, file and serve a notice of related cas

   
 

may use form £M-015.)

 

(TYPE OR PRINT NAME)

   

 

 

 

   
 

NOTICE

» Plaintiff must file this cover sheet with the first paper filed in the action pr proceediig (except small claims cases or cases filed
under the Probate Code, Family Code, or Welfare and Institutions Code), (Cal, Rules of Court, rule 3,220,} Failure to file may result
In sanctions.

* File this cover sheet in addition to any cover sheet required by local court rule,

¢ if this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
other parties to the action or proceeding.

© Unless this ls a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onl IY 4

 
 

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Case 2:16-cv-01160-KJM-AC Document 1 Filed 05/27/16 Page 22 of 37

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Facsimile: (310) 539-2454

Attorneys for Plaintiffs JEANNETTE COOKS, ALWENA FRAZIER,
and the Proposed Class

SUPERIOR COURT OF CALIFORNIA
' FOR THE COUNTY OF SOLANO

JEANNETTE COOKS, an individual; and caseno. FCQO4 (40

ALWENA FRAZIER, an individual; for
themselves and on behalf of all others CLASS ACTION COMPLAINT

Similarly situated 1, Failure to Pay Hourly Wages (Labor
Code § 204; IWC Wage Order 7-2001)
Plaintiffs, 2. Failure to Pay Overtime Wages (Labor
y Code § 1194)

3. Failure to Reimburse for Business

Expenses (Labor Code § 2802)

Failure to Provide Accurate Itemized —

Wage Statements (Labor Code § 226)

5, Failure to Timely Pay All Wages Due at
Separation of Employment (Labor Code
§ 203)

6. Violation of Unfair Competition Law
(Business & Professions Code § 17200, et
seq.)

DEMAND FOR JURY TRIAL

TNG GP, a Delaware General Partnership;
THE NEWS GROUP, INC., a Delaware
Corporation; SELECT MEDIA SERVICES,
L.L.C., a Delaware Limited Liability
Company, and, DOES 1 through 10,
inclusive,

>

Defendants

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| resulting in failure to pay all hourly and overtime wages owed, failure to provide accurate itemized

Case 2:16-cv-01160-KJM-AC Document 1 Filed 05/27/16 Page 23 of 37

Plaintiffs JEANNETTE COOKS and ALWENA FRAZIER (“Plaintiffs”), on behalf of!
themselves and all others persons similarly situated, allege as follows:
INTRODUCTION
1. Plaintiffs are non-exempt merchandisers servicing major retail stores, and bring this
class action against their employer, Defendants TNG GP, THE NEWS GROUP, INC., SELECT
MEDIA SERVICES, L.L.C. (“Defendants” or “ING”), for failure to pay for all hours worked

wage statements, failure to timely pay all wages to separated employees, and failure to reimburse for
all business related expenses.
JURISDICTION AND VENUE
2. Venue as to each Defendant is proper in this judicial district, pursuant to Code of Civil
Procedure, section 395, Defendants conduct business in Solano County, California and each
Defendant is within the jurisdiction of this Court for service of process purposes. The unlawful acts
alleged have a direct effect on Plaintiffs and those similarly situated within the State of California and
Solano County. Defendants employ numerous Class Members in Solano County. There is no federal
question at issue, as the issues are based solely on California statutes and law, including the Labor
Code, IWC Wage Orders, Code of Civil Procedure, Civil Code, and Business and Professions Code.
3. Business and Professions Code, section 17203 provides that any person who engages in
unfair competition may be enjoined in any court of competent jurisdiction. Business and Professions
Code, section 17204 provides that any person, acting on his own behalf, may bring an action in a
court of competent. jurisdiction.
PARTIES
4, Plaintiff JEANETTE COOKS is a resident of the State of Califomia employed by
Defendants in Solano County as a non-exempt merchandiser. |
5. Plaintiff ALWENA FRAZIER is a resident of the State of Califomia employed by
Defendants in Solano County as a non-exempt merchandiser.
6. Defendant TNG GP is a Delaware General Partnership engaged in business in Solano

County. Defendant operates under the names TNG and/or Select Media Services throughout
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|} wages, hours, and working conditions. Plaintiffs are informed and believe, for purposes of this action,

Case 2:16-cv-01160-KJM-AC Document1 Filed 05/27/16 Page 24 of 37

California, and appears to be the successor in interest to Defendant THE NEWS GROUP, INC.
During the class period, Defendant employed Plaintiffs and others as non-exempt merchandisers
within California and Solano County.

7. Defendant THE NEWS GROUP, INC. is a Delaware Corporation engaged in business
in Solano County. Defendant operates under the names TNG and/or Select Media Services
throughout California. During the class period, Defendant employed Plaintiffs and others as non-
exempt merchandisers within California and Solano County.

8. Defendant SELECT MEDIA SERVICES, L.L.C. is a Delaware Limited Liability
Company engaged in business in Solano County. Defendant operates under the names of TNG and/or
Select Media Services throughout Califomia. During the class period, Defendant employed Plaintiffs
and others as non-exempt merchandisers within California and Solano County.

9. Plaintiffs are unaware of the true names, capacities, relationships, and extent of,
participation in the conduct alleged, of the Defendants sued as DOES 1 through 10, but are informed
and believe, and allege, these Defendants are legally responsible for the wrongful conduct alleged,
and sue these Defendants by fictitious names. Plaintiffs will amend this complaint when their true
names and capacities are ascertained. (Named and DOE Defendants are referred to collectively as
“Defendant” or “TNG,”)

10. _—_‘ Plaintiffs are informed and believe, and allege, each Defendant, directly or indirectly, or

through agents, employed Plaintiffs and other members of the class, and exercised control over their

each Defendant acted as the agent of the other Defendants, carried out a joint scheme, plan or policy,
and the acts of each Defendant are legally attributable to the other Defendants.
GENERAL ALLEGATIONS
11, During all, or a portion, of the Class Period, Plaintiffs and each member of the Plaintiff
Class were employed by Defendants in the State of California,
12. At all relevant times, Defendants did, and do, provide merchandising services to major
retailers in California, such as Best Buy, CVS, Target, and Wal-Mart, using employees like Plaintiffs

to deliver and display magazines and other products.
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Case 2:16-cv-01160-KJM-AC Document 1 Filed 05/27/16 Page 25 of 37

13. Plaintiffs and each class member were non-exempt employees covered under one or
more Industrial Welfare Commission (IWC) Wage Orders, including 7-2001 (“Wage Orders”), and
Labor Code sections, and/or other applicable wage orders, regulations and statutes, which imposed an
obligation on Defendants to 1) pay Plaintiffs and class members for all hours worked, including
overtime compensation for all hours worked over eight (8) hours in one day or forty (40) hours in one

week; 2) provide accurate, itemized wage statements; and 3) pay all wages owed to terminated class

14. Defendants communicate with merchandisers by email and cell phone to provide
assignments. This is done while merchandisers are not clocked-in and they are not paid for this time.
TNG requires merchandisers, while they are not clocked-in, to complete “surveys” about stores they
have serviced, and email them to TNG. Merchandisers are required to use cell phones to take
photographs of the areas they are responsible for inside a store. Merchandisers are not reimbursed for
required use of their computers or cel] phones.

15, Defendants require merchandisers to clock out from work when leaving one store, drive
to another store, and clock back in at the next store. TING does not pay merchandisers for drive time
between stores,

16. Defendants’ policies result in underpayment of wages by not compensating
merchandisers for all time spent receiving and communicating about assignments, driving between
assigned stores, and completing surveys. Defendants’ policies also do not reimburse reasonable and |.
necessary business expenses because they require merchandisers to: drive between assigned stores
without reimbursement; and use their own cell phones and/or computers to receive and communicate
about assignments; complete surveys about assignments; and take photographs of areas of stores they
service. As a result of the underpayment of wages, merchandisers are not paid all wages due upon
termination or resignation, and are not provided accurate, itemized wage statements.

CLASS ACTION ALLEGATIONS

17. Plaintiffs bring this action on behalf of themselves and all other similarly situated

persons as a class action pursuant to California Code of Civil Procedure section 382. Plaintiffs seek to

represent a Class composed of and defined as follows:
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Case 2:16-cv-01160-KJM-AC Document 1 Filed 05/27/16 Page 26 of 37

All current and former non-exempt employees who worked for Defendants in
the State of California as merchandisers at any time beginning four years prior
to the filing of this Complaint.

18. Plaintiffs bring this action on behalf of themselves and all other similarly situated
persons in Subclasses of the Plaintiff Class, defined as:

A, Off-The-Clock Subclass: All members of the proposed Class who were required
to perform work off-the-clock, including but not limited to, communicating with Defendants by email
and phone to receive and respond to assignments, completing surveys, and driving between
assignments, while clocked-out;

B. Expense Reimbursement Subclass: All members of the proposed Class who
used their personal electronic devices, such as cell phones and computers, and their personal vehicles
in the performance of their job duties, but were not reimbursed for that use;

Cc. Wage Statement Subclass: All members of the proposed Class who, within one
year of the filing of the Complaint, were subject to a practice of failing to include all hours worked
and wages earned; .

D. Waiting Time Subclass: All members of the proposed Class who, within three
years of the filing of the Complaint, were not timely paid all wages due at the time of their separation
from employment;

E. UCL Subclass: All members of the proposed Class who suffered damages as a
result of being subject to Defendants’ pay practices relating to failure to pay all hourly and overtime
wages, reimburse all business related expenses, and timely pay all wages at separation.

19.- Plaintiffs reserve the right under Rule 3.765(b), California Rules of Court, to amend or
modify the Class description with greater specificity or further division into subclasses or limitation
to particular issues. |

20. This action has been brought and may be properly maintained as a class action under the
provisions of California Code of Civil Procedure section 382 because there is a well-defined
community of interest in the litigation and the proposed Class is easily ascertainable,

21. | Numerosity. The members of the Class are so numerous that individual joinder of all of

them as Plaintiffs is impracticable. While the exact number of the Class members is unknown to
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Case 2:16-cv-01160-KJM-AC Document 1 Filed 05/27/16 Page 27 of 37

Plaintiffs at this time, Plaintiffs are informed and believe, and based thereon allege, that there are
more than 100 Class members, who, at all relevant times, were employed in the State of California.
22. Commonality. There are questions of law and fact common to the Class that
predominate over any questions affecting only individual Class Members, including: |
a Whether Defendants violate Labor Code section 1194 and Wage Order 7-
2001(4) by failing to pay hourly and overtime wages owed for all hours worked;
b. Whether Defendants violate Labor Code sections 201 and/or 202 by not timely
paying Class Members all earned wages at separation, including all unpaid
hourly and overtime wages, due under Labor Code section 1194 and IWC Wage
Order 7-2001. If so, whether such violations were “willful” within the meaning
of Labor Code section 203;
c. Whether Defendants violate Labor Code section 2802 by failing to reimburse for
all business expenses;
d. Whether Defendants breach the employment contract by failing to reimburse for
all business related expenses; .
€. Whether Defendants violate the Unfair Competition Law, Business &
Professions Code, section 17200, et seg., by engaging in the conduct alleged in
this complaint;
f. The effects and the extent of any injuries sustained by the Plaintiff Class and
Plaintiff Subclass members and appropriate type and/or measure of damages;
g. The amount of restitution owed by Defendants attributable to violation of the
Unfair Competition Law by failure to pay all hourly and overtime wages, and
failure to reimburse for all business expenses and other wage violations;
h. © Whether Defendants violate California Labor Code sections 558 and/or 1197;
“i. Nature and extent of relief to each Plaintiff Class and Subclass member; and
je The extent of liability of each Defendant, including DOE Defendants, to each

Plaintiff Class and Subclass member.

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Case 2:16-cv-01160-KJM-AC Document 1 Filed 05/27/16 Page 28 of 37

23.  Typicality, Plaintiffs held the same position, performed the same duties, and had the
same responsibilities as the other Class members, Plaintiffs’ claims are typical of the claims of the
other members of the Class. Plaintiffs and other members of the Class were subject to the same policy
and practice of routinely working unpaid hours, as well as using their personal electronic devices in
the course of their employment without reimbursement, and not receiving accurate itemized wage
statements.

24. Adequacy. Plaintiffs will adequately and fairly protect the interests of the members of
the Class. Plaintiffs have no interest adverse to the interests of absent Class members. Plaintiffs are
represented by attormeys with substantial wage-and-hour and class action law experience.

25. Superiority. A class action is superior to other available means for fair and efficient
adjudication of the claims of the Class and would be beneficial for the parties and the Court. Class
action treatment will allow a large number of similarly situated persons to prosecute their common
claims in a single forum, simultaneously, efficieritly, and without the unnecessary duplication of
effort and expense numerous individual actions would require. The damages suffered by each Class
member are relatively small in the sense pertinent to class action analysis, and the expense and burden
of individual litigation would make it extremely difficult or impossible for individual Class members
to seek and obtain individual relief. A class action will serve an important public interest by |
permitting such individuals to effectively pursue recovery of sums owed them. Class litigation also
prevents the potential for inconsistent or contradictory judgments raised by individual litigation.

FIRST CAUSE OF ACTION

Failure to Pay Hourly Wages
(Plaintiffs and the Off-the-Clock Subclass against each Defendant)

26. The preceding paragraphs are incorporated.
27. By failing to pay employees for all time communicating with Defendants by email and
phone to receive and respond to assignments, completing surveys, and driving between assignments,
Defendants willfully breached the agreement to pay regular wages, violating the provisions of Labor
Code sections 204, and Wage Order 7-2001.
28. Asa result of Defendants’ unlawful acts, Plaintiffs and the Class they seek to represent

have been deprived of regular wages and/or other compensation in amounts to be determined at trial,
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Case 2:16-cv-01160-KJM-AC Document 1 Filed 05/27/16 Page 29 of 37

and are entitled to recovery of such amounts, plus interest, attorneys’ fees, and costs.

SECOND CAUSE OF ACTION

Failure to Pay Overtime Wages -
(Plaintiffs and the Off-the-Clock Subclass against each Defendant)

29. The preceding paragraphs are incorporated.

30. By failing to compensate merchandisers for all ttme communicating with Defendants by
email and phone to receive and respond to assignments, completing surveys, and driving between
assignments at the overtime rate of pay for shifts that exceed eight (8) hours in a day and/or forty (40)
in a week and the double-time rate of pay for shifts that exceed twelve (12) hours in a day,
Defendants failed to pay overtime wages, and willfully violated the provisions of Labor Code
sections 510 and 1194, and IWC Wage Order 7-2001.

31. As a result of Defendants’ unlawful acts, Plaintiffs and class members sustained
damages, including loss of compensation for overtime worked in amounts to be determined at trial,

plus interest, and attorneys’ fees and costs.

THIRD CAUSE OF ACTION
Failure to Reimburse for Business Expenses
(Plaintiffs and the Expense Reimbursement Subclass against each Defendant)

32, The preceding paragraphs are incorporated.

33. Plaintiffs and the members of the class they seek to represent incurred expenses in the
performance of their job duties, including the use of personal cell phones, computers, and vehicles.
Plaintiffs were not reimbursed for incurring these necessary and reasonable business expenses.

34, Defendants had a policy of regularly and consistently refusing to fully reimburse
Plaintiffs and other similarly situated Class. members for such expenses, in violation of California
Labor Code section 2802.

35. As a result of Defendants’ unlawful acts, Plaintiffs and class members sustained
damages, including loss of expense reimbursements, in amounts to be determined at trial, plus
interest, and attorneys’ fees and costs.
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Case 2:16-cv-01160-KJM-AC Document 1 Filed 05/27/16 Page 30 of 37

FOURTH CAUSE OF ACTION
Failure to Provide Accurate Itemized Wage Statements
(Plaintiffs and the Wage Statement Subclass against each Defendant)

36. The preceding paragraphs are incorporated.

37, Labor Code section 226, subdivision (a) requires Defendants to itemize in wage
statements all deductions from payment of wages and to accurately report total hours worked and
wages earned by Plaintiffs and members of the Plaintiff Class. Defendants knowingly and
intentionally failed to comply with Labor Code section 226, subdivision (a) on each and every wage
statement been provided to Plaintiffs and members of the Plaintiff Class.

38. Such violations caused injury to Plaintiffs and the Wage Statement Subclass by, among
other things, impeding them from knowing the amount of hours they had worked and the wages to
which they are and were lawfully entitled, and under-reporting wages due and owing.

39. Plaintiffs and Wage Statement Subclass members are entitled to seek injunctive relief
requiring Defendants to comply with Labor Code section 226(a), and further seek the amount
provided under Labor Code section 226(e), including the greater of all actual damages or fifty dollars
($50) for the initial pay period in, which a violation occurs and one hundred dollars ($100) per

employee for each violation in a subsequent pay period, to a maximum of $4,000 per employee.

FIFTH CAUSE OF ACTION
Failure to Timely Pay Ali Wages Due At Separation of Employment
(Waiting Time Subclass against each Defendant)

40. The preceding paragraphs are incorporated.

41. Labor Code section 203 requires an employer who willfully fails to timely pay an
employee’s wages at separation, to continue to pay the employee’s wages until the back wages are
paid in full or an action is commenced, up to a maximum of thirty days of wages.

42, All Waiting Time Claim Subclass members who ceased employment with Defendants
are entitled to unpaid compensation related to hourly and overtime wages, but to date have not
received such compensation. |

43, All Waiting Time Claim Subclass members also were not timely paid wages at
separation because Defendants failed to pay all wages owed at separation.

44, More than thirty days have passed since members of the Waiting Time Subclass left
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Case 2:16-cv-01160-KJM-AC Document 1 Filed 05/27/16 Page 31 of 37

Defendants’ employment.

45. As a result of Defendants’ willful failure to pay wages owed, members of the Waiting
Time Subclass are entitled to up to thirty days’ wages as a penalty under Labor Code section 203, in
amounts to be determined at trial, plus interest, and attorneys’ fees and costs.

SIXTH CAUSE OF ACTION

Violation of the Unfair Competition Law
(Plaintiffs and the UCL Subclass against each Defendant)

46. The preceding paragraphs are incorporated.

47. Defendants’ failure to pay hourly and overtime wages, reimburse for all business
expenses under Labor Code section 2802, and timely pay all wages at termination constitutes
unlawful activities, acts and practices prohibited by Business and Professions Code sections 17200, et
seq. Defendants’ acts above constitute false, unfair, fraudulent and deceptive business practices,
within the meaning of Business and Professions Code sections 17200, et seg. Defendants have
violated multiple provisions of California law and applicable regulations and Orders of the IWC that
have the same force and effect of law. This includes, without limitation California Labor Code
Sections 201-203, 1194, and 2802, which serve as statutory predicates for which restitution is owed
by Defendants, as well as Wage Order 7-2001, and applicable regulations of the California Code of
Regulations.

48. Plaintiffs are entitled to restitution and other equitable relief against such unlawful
practices in order to prevent future damage, for which there is no adequate remedy at law, and to
avoid a multiplicity of lawsuits.

49. Asa result of these unlawful acts, Defendants have reaped and continue to reap unfair
benefits and illegal profits at the expense of Plaintiffs, the proposed Class, and the proposed
Subclasses they seek to represent. Defendants should make restitution for these ill-gotten gains to
restore to Plaintiffs and members of the UCL Subclass, wrongfully unpaid wages and expense
reimbursements pursuant to Business and Professions Code section 17203 and for penalties under
Business and Professions Code section 17202.

50. - Plaintiffs are informed and believe, and allege, Defendants are unjustly enriched through

the acts described above, and that they and the proposed Class have and continue to suffer irreparable
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Case 2:16-cv-01160-KJM-AC Document1 Filed 05/27/16 Page 32 of 37

prejudice by Defendants’ unfair practices. By engaging in such activities, Defendants are illegally
operating at an advantage to other law abiding employers in California and underpaying payroll and
other applicable taxes collected by State and local governmental entities.

51. The illegal conduct alleged is continuing and there is no indication Defendants will not
continue such activity. Plaintiffs allege Defendants will continue to fail to pay for all hours worked,
fail to reimburse for expenses, and fail to pay all wages. due-at separation, and fail to pay and avoid
paying appropriate taxes, insurance, and unemployment withholdings.

| PRAYER

Plaintiffs, on behalf of themselves and all members of the proposed Plaintiff Class and
Subclasses they seek to represent, pray for relief and judgment against Defendants as follows:

A. Certification of this action as a class action;

Appointment of Plaintiffs as Class Representatives;
Appointment of Plaintiffs’ attorneys as Class Counsel;
All unpaid hourly wages;

All unpaid overtime wages;

Allreimbursement of business expenses incurred;

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All waiting time penalties under Labor Code sections 201-203;

H. All liquidated damages in the amount equal to wages unlawfully unpaid and interest
under Labor Code section 1194.2;

I, Penalties, restitution, and liquidated damages under Labor Code section 1197.1;

J Penalties pursuant to Labor Code section 558;

K. All appropriate state statutory penalties;

L Pre-Judgment and Post-Judgment interest, as provided by law,

M. Attorneys’ fees and costs of suit, including expert fees and fees pursuant to, among other
authority, California Labor Code sections 218.5, 226, 1021.5, 1194, 2802, and all other applicable
state laws; |

N. | For an order that Defendants make restitution to Plaintiffs and the Class due to their

unlawful business practices, including unlawfully withheld compensation and reimbursement of
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Case 2:16-cv-01160-KJM-AC Document1 Filed 05/27/16 Page 33 of 37

business expenses pursuant to Business and Professions Code sections 17203 and 17204; and

oO, Such other relief as this Court deems necessary, just, equitable and proper.

Dated: April 13, 2016

COHELAN KHOURY & SINGER —

LAW OFFICES OF OLIVIA SANDERS
CATHERINE STARR, ESQ.

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Michab 12. Bingdy
Jeff Geraci
Counsel fof Plaintiffs JEANNETTE COOKS, ALWENA

FRAZIER, and the Proposed Class

DEMAND FOR JURY TRIAL

Plaintiffs hereby demand a jury trial with respect to all issues triable of right by jury.

Dated: April 13, 2016

COHELAN KHOURY & SINGER

LAW OFFICES OF OLIVIA SANDERS
CATHERINE STARR, ESQ.

So WI YH —

MichaeJ D/S{nger ~ —
Jeff Géraci
Counsel for Plaintiffs TEANNETTE COOKS, ALWENA

FRAZIER, and the Proposed Class

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Case 2:16-cv-01160-KJM-AC Document 1 -Fited:05/27/16 Page 34 of 37

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SUPERIOR COURT OF CALIFORNIA St ya eee

COUNTY OF SOLANO. Fairfield, CA 94533
uo : . (707) 207-7330
CIVIL DIVISION
HALL OF JUSTICE
600 Union Avenue
Fairfield, CA 94533
(707) 207-7330

 

Plaintiff(s); © JEANNETTECOOKS, ETAL. Case No, FCS046906

NOTICE OF CASE MANAGEMENT
CONFERENCE ONE

Defendant(s): TNG GP, A DELAWARE GENERAL PARTNERSHIP, AND

ET AL. oo .NOTICE OF ASSIGNMENT OF
JUDGE FOR ALL PURPOSES |

 

The obligations of counsel, or any party not represented by. an attorney, in regard to Case Management
Conference One and any. Case Management Conference Two set by the court are as follows:

(1)
(2)

(3)
(4)
(5)

(6)

Service of the complaint must be within sixty (60) calendar days of the date of filing.

Service and filing of responsive pleading must be within thirty (30) days after service of the complaint.
The time for filing responsive piéading may not be extended except as authorized by Government Code
section 68616. Appearance at the Case Management Conference does not excuse a litigant from
the requirement of filing and serving a responsive pleading within this deadline.

Plaintiff shall serve a copy of this Notice of Case Management Conference One on all defendants with
the complaint.

Any party serving a cross-complaint shall serve a copy of this Notice of Case Management Conference
One on each cross-defendant with the cross-complaint.

Any cross-complaint served after Case Management Conference One has been held shall have a Notice
of Case Management Conference Two served with it. .

A Case Management Statement shall be filed with the court and served on all parties by each counsel
by the 15th calendar day before the date set for Case Management Conference One.

(7) At least one party demanding a jury on each side of a civil case must pay a nonrefundable fee of $150.00

on or before the initial case management conference or as otherwise provided by statute.

 

NOTICE OF CMC ONE AND NOTICE OF ASSIGNMENT OF JUDGE

0900-CV REV, 09-26-2014 Page 1 of 2

 
 

 

Case 2:16-cv-01160-KJM-AC Document 1 Filed 05/27/16 Page 35 of 37

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" (8) At Case Management Conference One the court shall inform counsel and self-represented parties of the
date, time and place for Case Management Conference Two and shall make any orders regarding what is
expected that counsel and self-represented parties will accomplish in regard to the case before the filing of
the Case Management Statement for Case Management Conference Two.

(9) Each counsel shall complete, file, and serve on all parties a completed Case Management Statement by the
15th calendar day before the date set for Case Management Conference Two.

(10) At any Case Management Conference, counse! shall be completely aware of all procedural, factual, and
legal aspects of the case, and have full authority to discuss and resolve any issues that arise at the
conference, including settlement of the case.. This applies equally to both attorneys of record and
specially-appearing counsel.

(11) The court may impose sanctions pursuant to Solano County Local Rules, rule 4.6, in the event that a Case
Management Statement is not timely filed and/or served, or is not fully completed, or the requirements of
Rule 4, 6 are not met. - ; ,

 

AFFIDAVIT OF SERVICE
|, the undersigned, declare under penalty of perjury that | am employed as a deputy clerk of the above-entitled court and
not a party to the within-entitled action, and that | served this notice as follows:

 

 

 

 

 

 

 

 

 

 

V} | personally served the person named below on (date): 4/14/2016 at
(time) 12:06PM) ___. , ,
Namet Kw Mendel _ . ME exer ey

L] Party [] Attorney of Record ] Representative
I, Pp “_, acknowledge receipt of a copy of this Notice of Case
Management Conference One and Notice of Assign Ue of Juggeffor All Purposes.
Date: 4/14/2016
aust
CJ | caused to be placed a true copy of this notice in an envelope wich was then sealed and postage fully prepaid

on the date shown below; that | am readily familiar with the business practice for collection and processing of
correspondence for mailing with the United States Postal Service; that the above stated document will be
deposited in the Superior Court of California, County of Solano’s outgoing mailbox for collection by county mail
carriers on the date indicated. Said envelope was addressed to the attomeys for the parties, or the parties, as
shown below:

[_] See attached for additional service addresses

Date: 4/14/2016 Clerk of the Co
Superior Cou al CalKorn nty of Solano

wi !eputy Clerk

 

NOTICE OF CMC ONE AND NOTICE O& ASSIGNMENT OF JUDGE
O800-CV REV, 09-26-2014 Page 2 of 2
Case 2:16-cv-01160-KJM-AC Document1 Filed 05/27/16 Page 36 of 37

@svrenior court or carro
COUNTY OF SOLANO

PLAINTIFF: JEANNETTE COOKS, ET AL.
CASE NO. FCS046906

DEFENDANT: TNG GP, ET AL,
CLERK’S APPLICATION

AND ORDER

 

’ I, the undersigned, employed as a Legal Process Clerk for the above-entitled court, apply for an order as follows:
[_] vacating default described below,
(_] vacating judgment described below.

 

— vacating answer and/or other responsive pleading described below. -

camplex case determination pursuant to CRC 3.403 Gierk at ine dupmnr Gear
Document: CIVIL CASE COVER SHEET APR 2 0 2016
Date filed: 4/14/16 w,

 

   
 

Reason: Item #2 of Civil Case Cover Sheet is marked "Is" complex, By.

  

OM a
\A

I certify under penalty of perjury that the foregoing is true and correct.
Executed on 4/14/16, at Fairfield, California.

By: | CLAY
\ ) Deputy Clerk

ORDER ~~

Upon consideration of the clerk’s application and review of the court file:

 

 

ITIS ORDERED:
L] The default(s) of the defendant(s) named in the clerk’s application is (are) vacated,
[_] The judgment entered on is vacated.

 

["] The answer and/or other responsive pleading is vacated,
Case is determined to be complex (CRC 3.403) [[] Case is determined not to be complex (CRC 3.403).
&] Complex Case fees of $1,000.00 due per defendant within 10 days of the mailing of this order.

 

 

 

 

[-] Set for complex case determination hearing on at in Dept
[_] Other:
Dated: 4/ 34) l, MMdlc
tC OT 7 JUDGE

 

CLERK’S APPLICATION AND ORDER
Form #1050 5/31/13

 
Case 2:16-cv-01160-KJM-AC Document 1 Filed 05/27/16 Page 37 of 37

SUPERIOR COURT OF CALIFORNIA
COUNTY OF SOLANO

[X] 580 Texas Street, Fairfield, CA 94533 [ ] 600 Union Avenue, Fairfield, CA 94533
CERTIFICATE AND AFFIDAVIT OF MAILING CASE NO: FCS046906

|, the undersigned, certify under penalty of perjury that | am employed as a
deputy clerk of the above-entitled court and am not a party to the within-entitled
action; that | served the attached document:

CLERK'S APPLICATION AND ORDER

By causing to be placed a true copy thereof in an envelope which was then
sealed and postage fully prepaid on the date shown below; that | am readily
familiar with the business practice for collection and processing of
correspondence for mailing with the United States Postal Service; that the above
stated document will be deposited in the Superior Court of California, County of
Solano's outgoing mailbox for collection by county mail carriers on the date
indicated. Said envelope was addressed to the attorneys for the parties, or the
parties, as shown below:

JEFF GERACI, SBN 151519.
COHELAN KHOURY & SINGER
605 C STREET, SUITE 200
SAN DIEGO, CA 92101

 

Dated: 4/20/16 By:
Deputy Clerk

-CERTIFICATE AND AFFIDAVIT OF MAILING

 
